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IH-32                                                                                 Rev: 2014-1




                      United States District Court
                                  for the
                     Southern District of New York
                              Related Case Statement
                                                
                              Full Caption of Later Filed Case:

AMERICAN SOCIETY OF COMPOSERS,
AUTHORS AND PUBLISHERS,


                  Plaintiff                                        Case Number


                                                 No. 25-cv-04995
                    vs.


DISH NETWORK L.L.C.,



                 Defendant

                              Full Caption of Earlier Filed Case:
               (including in bankruptcy appeals the relevant adversary proceeding)


UNITED STATES OF AMERICA,



                  Plaintiff                                        Case Number

                                                    41-CV-1395 (DLC)
                    vs.


AMERICAN SOCIETY OF COMPOSERS,
AUTHORS AND PUBLISHERS,


                 Defendant


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          Case 1:25-cv-04995-DLC          Document 3         Filed 06/13/25       Page 2 of 2
IH-32                                                                                        Rev: 2014-1



Status of Earlier Filed Case:

        ✔
        ____ Closed
                         (If so, set forth the procedure which resulted in closure, e.g., voluntary
                         dismissal, settlement, court decision. Also, state whether there is an appeal
                         pending.)

     ____ Open           (If so, set forth procedural status and summarize any court rulings.)


In 1941, the United States of America and the American Society of Composers, Authors and Publishers

("ASCAP") entered into a consent decree. The ASCAP consent decree was last modified in 2001 in the

Second Amended Final Judgment ("AFJ2").

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Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
 
 
Under the terms of AFJ2, the district court retained jurisdiction to determine a reasonable fee
 
for a license to publicly perform the works in the ASCAP repertory. ASCAP commences this
 
proceeding pursuant to Section IX(F) of AFJ2, which provides that “when a music user has
 
the right to perform works in the ASCAP repertory pending the completion of any
 
negotiations or pending proceedings provided for in Section IX(A) of this Second Amended
 
Final Judgment, either the music user or ASCAP may apply to the Court to fix an interim fee
 
pending final determination or negotiation of a reasonable fee.” AFJ2 § IX(F).
 
 
Although   this case is related to Case No. 41 Civ. 1395 (DLC), this case cannot be assigned
to Judge Cote
  court casesbased      on the Music Modernization Act's provision regarding assignment of
 
rate               to district judges. See 28 U.S.C. § 137(b).
 
  court cases cannot be assigned to a judge in the Southern District of New York to whom
The Music Modernization Act's provision regarding assignment also provides that ASCAP
 
rate
proceedingjurisdiction
continuing                over the BMI consent decree is assigned or a judge to whom another
             concerning an application for the determination of a reasonable license fee is
BMI consentthedecree
assigned   at     time of the filing of the application. See 28 U.S.C. § 137(b). Currently, the
                       is subject to the continuing jurisdiction of Judge Stanton, and three other
 
rate-setting  proceedings are pending before Judges Cronan, Ho and Failla. See United
  v. Broad. Music, Inc., 1:64-cv-3787-LLS; Radio Music License Committee, Inc. v.
States
  Music, Inc., 1:22-cv-05023-JPC-SDA; Radio Music License Committee, Inc. v. Am.
Broad.
  of Composers, Authors and Publishers, No. 1:23-cv-07228-DEH; Broad. Music, Inc. v.
Soc’y
  XM Radio LLC f/k/a Sirius XM Radio Inc., 1:24-cv-06896-KPF.
Sirius
 
 
             /s/ Richard H. Reimer                                      6/13/2025
 Signature: ________________________________________ Date: __________________
             American Society of Composers, Authors
             and Publishers
Firm:         ________________________________________


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